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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


                                :
 ZENAIDA TALAVERA,              :
                                : Case No.
                     Plaintiff, :
                                :
        v.                      :
                                :
 BAYER CORPORATION, BAYER :
 U.S. LLC, BAYER HEALTHCARE :
 LLC, BAYER ESSURE INC., and    :
 BAYER HEALTHCARE               :
 PHARMACEUTICALS INC.,          :
                                :
                    Defendants. :
                                :
                                :

                                   NOTICE OF REMOVAL

       Defendants Bayer Corporation, Bayer U.S. LLC, Bayer Essure Inc., and Bayer

HealthCare Pharmaceuticals Inc. (together, “Bayer”), by and through their undersigned counsel,

hereby provide notice pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 of the removal of the

above-captioned case from the Court of Common Pleas in Philadelphia County to the United

States District Court for the Eastern District of Pennsylvania. The grounds for removal are as

follows:

                                       BACKGROUND

       1.      On October 29, 2018, Plaintiff Zenaida Talavera filed a complaint for damages in

Pennsylvania state court. The complaint alleges that Plaintiff “suffered from severe and

permanent injuries” as a result of her experience using Essure, an FDA pre-market approved

Class III medical device that serves as a form of permanent birth control. Compl. ¶ 113 (Ex. A,

hereto).
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       2.      Essure was approved by FDA through the rigorous premarket approval (“PMA”)

process in 2002. Ex. B (Premarket Approval Order). Since then, FDA has granted numerous

supplemental approvals, including as recently as April 2018, see Ex. C (FDA website noting

PMA Supplements), repeatedly reviewing and approving Essure’s design, construction,

manufacturing, testing, training requirements, warnings, instructions for use, patient information,

and all other labeling. See generally Norman v. Bayer Corp., No. 3:16-cv-253(JAM), 2016 WL

4007547 (D. Conn. July 26, 2016) (recounting Essure regulatory history and dismissing all

claims with prejudice as preempted by federal law); McLaughlin v. Bayer Corp., 172 F. Supp. 3d

804, 809-11 (E.D. Pa. 2016) (recounting Essure regulatory history and dismissing 10 of 12

claims). After a public hearing in September 2015 and months of investigation, FDA reaffirmed

that “FDA continues to believe that the benefits of the device outweigh its risks.” Ex. D (FDA

Activities: Essure).

                                           ARGUMENT

       3.      As set forth more fully below, this case is properly removed because this Court

has diversity jurisdiction under 28 U.S.C. § 1332. There is complete diversity among the parties:

Plaintiff is a citizen of California, and no defendant is a citizen of that state. Moreover, the

amount in controversy exceeds $75,000.

I.     THE PROCEDURAL REQUIREMENTS OF REMOVAL ARE MET.

       4.      Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings,

orders and other documents filed in the state court action are attached as Exhibit A.




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         5.      Only Bayer Corporation has been served with Plaintiffs’ Complaint.1 Section

1446(b)(1) requires a notice of removal to be filed within 30 days of the service of a complaint

upon the defendants. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354

(1999) (30-day time limit for removal runs from date of formal service of the initial complaint).

Because Plaintiff has not yet served her complaint, this Notice of Removal is timely filed.

         6.      The United States District Court for the Eastern District of Pennsylvania presides

in the locality in which the state court action is now pending. It is therefore a proper forum for

removal. See 28 U.S.C. §§ 118(a), 1441(a).

         7.      A copy of this Notice of Removal is being served on Plaintiff, and a copy is being

filed with the state court. See id. § 1446(d).

         8.      If any questions arise about this removal, Bayer respectfully requests the

opportunity to present briefing and oral argument in support of removal.

II.      REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
         JURISDICTION PURSUANT TO 28 U.S.C. §§ 1332 AND 1441.

         9.      A defendant may remove an action from state court to federal court if the action

could have been brought originally in federal court. See 28 U.S.C. § 1441. Here, federal

jurisdiction exists based upon diversity of citizenship pursuant to 28 U.S.C. § 1332, because this

is a civil action between citizens of different states, and it is facially apparent that the amount in

controversy with respect to Plaintiff’s claim exceeds $75,000, exclusive of interest and costs.

See id. § 1332(a); Auto-Owners Ins. Co. v. Stevens & Ricci Inc., 835 F.3d 388, 394-95 (3d Cir.

2016).


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 At the time that this notice of removal was filed, Plaintiff has not served her complaint on
several Defendants in this matter, and they reserve all rights, including objections to service and
personal jurisdiction. See City of Clarksdale v. BellSouth Telecomms., Inc., 428 F.3d 206, 214
n.15 (5th Cir. 2005) (“A defendant’s removal to federal court does not waive its right to object to
service of process.” (citing Morris & Co. v. Skandinavia Ins. Co., 279 U.S. 405, 409 (1929)).
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          A.      The Amount-In-Controversy Exceeds $75,000.

          10.     Although Plaintiff does not specifically allege the amount of damages in her

complaint, beyond noting that it involves claims worth more than $50,000, it is facially apparent

that the damages sought, including any punitive damages, exceed $75,000. See 28 U.S.C.

§ 1446(c)(2); see, e.g., Huber v. Taylor, 532 F.3d 237, 244 (3d Cir. 2008) (recognizing that

claims for punitive damages are included in determining the amount in controversy). Plaintiff

alleges that she sustained “severe and permanent injuries.” Compl. ¶ 113. Further, she states

that she “has been forced to expend significant sums of money for treatment of the multitude of

surgeries, testing, medicine, therapies along with related expenses” and that she “has suffered a

significant decrease in her ability to earn money in the future, as well as a significant loss of

earning capacity.” Id. ¶¶ 177-78.

          11.     Courts have found the amount in controversy satisfied in similar cases, in which

plaintiffs have asserted similar injuries, alleged similar degrees of pain, and requested punitive

damages. See, e.g., Dyson v. Bayer Corp., 2018 WL 534375, at *5 (E.D. Mo. Jan. 24, 2018)

(finding diversity jurisdiction once non-diverse plaintiffs dismissed for lack of personal

jurisdiction); Hocker v. Klurfield, 2015 WL 8007463, at *2 (E.D. Pa. Dec. 7, 2015) (collecting

cases).

          12.     Moreover—although Bayer denies that any relief is warranted—Pennsylvania

juries routinely award compensatory damages in excess of $75,000 in product liability cases

where liability is found, further supporting the conclusion that the jurisdictional minimum

requirement is satisfied. See, e.g., Carlino v. Ehticon, Inc., 2016 Jury Verdicts LEXIS 841 (Feb.

10, 2016) ($13.5 million verdict in medical device case). Thus, given the nature of Plaintiff’s

alleged injuries, the scope of damages sought, and the lack of any express limitation on the



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amount of damages sought, Plaintiff’s claims plainly satisfy the amount-in-controversy

requirement.

       B.        Complete Diversity Of Citizenship Exists.

       13.       There is complete diversity of citizenship between the parties.

       14.       Plaintiff alleges that Defendant Bayer Corporation is an Indiana corporation with

its principal place of business in Pennsylvania. Compl. ¶ 2. In fact, since January 1, 2017,

Bayer Corporation’s principal place of business has been in New Jersey. Accordingly, it is a

citizen of Indiana and New Jersey for diversity purposes. See 28 U.S.C. § 1332(c).

       15.       Plaintiff alleges that Defendant Bayer U.S. LLC is a Pennsylvania corporation

with its principal place of business in Pittsburgh, Pennsylvania. Compl. ¶ 3. In fact, Bayer US

LLC is a limited liability company, and its citizenship is determined by the citizenship of its

members. Brand Mktg. Grp. LLC v. Intertek Testing Servs., N.A., Inc., 801 F.3d 347, 353 (3d

Cir. 2015). Its sole member is Bayer Corporation, and thus, Bayer U.S. LLC is a citizen of

Indiana and New Jersey for diversity purposes. See 28 U.S.C. § 1332(c).

       16.       Defendant Bayer HealthCare LLC is a citizen of Delaware, Pennsylvania, New

Jersey, Germany, and the Netherlands. Compl. ¶ 4. Like Bayer U.S. LLC, Bayer HealthCare

LLC’s citizenship is determined by the citizenship of its nine members. Brand Mktg., 801 F.3d

at 353. Those members are:

             •   NippoNex Inc., a Delaware corporation with its principal place of business in

                 New Jersey;

             •   Bayer West Coast Corporation, a Delaware corporation with its principal place of

                 business in New Jersey;




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•   Bayer Essure Inc., a Delaware corporation with its principal place of business in

    New Jersey;

•   Bayer Medical Care Inc., a Delaware corporation with its principal place of

    business in Pennsylvania;

•   Bayer Consumer Care Holdings LLC, a limited liability company, the sole

    common member of which is Bayer East Coast LLC and the sole preferred

    member of which is Bayer HealthCare US Funding LLC. Bayer East Coast

    LLC’s sole member is Bayer US Holding LP, and Bayer HealthCare US Funding

    LLC’s members are Bayer AG, Bayer Pharma AG, and Bayer World Investments

    B.V. Bayer US Holding LP is a limited partnership in which Bayer World

    Investments B.V. is the sole General Partner and Bayer Solution B.V. is the sole

    limited partner. Bayer Solution B.V. is a private company with limited liability

    organized under the laws of the Netherlands and is wholly-owned by Bayer World

    Investments B.V. Bayer World Investments B.V. is a private company with

    limited liability organized under the laws of the Netherlands and is wholly owned

    by Bayer AG. Bayer AG and Bayer Pharma AG are German Aktiengesellschafts

    organized under the laws of Germany whose stock is publicly traded in Germany,

    and their principal places of business are in Germany;

•   Dr. Scholl’s LLC, a limited liability company, the sole member of which is Bayer

    HealthCare US Funding LLC;

•   Coppertone LLC, a limited liability company, the sole member of which is Bayer

    HealthCare US Funding LLC;




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             •   MiraLAX LLC, a limited liability company, the sole member of which is Bayer

                 HealthCare US Funding LLC; and

             •   Bayer HealthCare US Funding LLC, a limited liability company, whose members

                 are Bayer AG, Bayer Pharma AG, and Bayer World Investments B.V. Bayer AG

                 is a publicly-held German Aktiengesellschaft with its principal place of business

                 in Germany; Bayer Pharma AG is a German Aktiengesellschaft, wholly owned by

                 Bayer AG, with its principal place of business in Germany; and Bayer World

                 Investments B.V. is a private company with limited liability that is wholly owned

                 by Bayer AG.

       17.       Defendant Bayer Essure Inc. is a Delaware corporation with its principal place of

business in New Jersey. Compl. ¶ 5. Accordingly, it is a citizen of Delaware and New Jersey for

diversity purposes. See 28 U.S.C. § 1332(c).

       18.       Defendant Bayer HealthCare Pharmaceuticals Inc. is a Delaware corporation with

its principal place of business in New Jersey. Compl. ¶ 6. Thus, for diversity purposes, it is a

citizen of Delaware and New Jersey. See 28 U.S.C. § 1332(c).

       19.       Plaintiff alleges that she is a citizen of California. Compl. ¶ 1.

       20.       Because Plaintiff is a citizen of California and the Bayer Defendants are citizens

of Delaware, Indiana, New Jersey, Pennsylvania, Brazil, France, and Germany, there is complete

diversity, and this Court has jurisdiction under 28 U.S.C. § 1332.




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Dated: October 30, 2018                        Respectfully submitted,

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                                               Essure Inc., and Bayer HealthCare
                                               Pharmaceuticals Inc.




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                               CERTIFICATE OF SERVICE

       I, Christopher Boisvert, do hereby certify that the foregoing document was served upon

the following by regular United States mail and e-mail:

              T. Matthew Leckman
              Leckman Law LLC
              527 Bethan Road
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                                                          _______________________
                                                          Christopher Boisvert




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